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                            United States District Court
                             Middle District of Florida
                               Jacksonville Division

KATIE JACKSON,

             Plaintiff,

v.                                                         NO. 3:20-cv-475-J-39PDB

WELLS FARGO BANK, N.A.,

             Defendant.



                                        Order

      Based on the parties’ agreement, Doc. 33, the Court grants in part Wells
Fargo Bank, N.A.’s motion to strike, Doc. 20, and strikes from the amended
complaint, Doc. 14, paragraphs 72 through 92. All other paragraphs remain. Wells
Fargo retains the right to object to the admissibility of any evidence relating to the
allegations in the amended complaint.

      Ordered in Jacksonville, Florida, on November 9, 2020.
